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                                EXHIBIT S
                                  Footnote 31
   “Critical Appraisal of VAERS Pharmacovigilance: Is the U.S. Vaccine Adverse
   Events Reporting System (VAERS) a Functioning Pharmacovigilance System?”
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Critical Appraisal of VAERS Pharmacovigilance: Is
the U.S. Vaccine Adverse Events Reporting System
(VAERS) a Functioning Pharmacovigilance System?
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The Institute for Pure and Applied Knowledge

    “Patterns of adverse events, or an unusually high number of adverse events reported after a particular
    vaccine, are called ‘signals.’ If a signal is identified through VAERS, scientist[s] may conduct further
                           studies to find out if the signal represents an actual risk.”
                                                                                         CDC on Vaccine Safety


    Abstract
    Following the initiation of the global rollout and administration of the COVID-19 vaccines1,2 on
    December 17, 2020, in the United States, hundreds of thousands of individuals have reported Adverse
    Events (AEs) using the Vaccine Adverse Events Reports System (VAERS). To date, approximately 50%
    of the population of the United States have received 2 doses of the COVID-19 products with 427,831
    AEs reported into VAERS as of August 6th, 2021.
       Pharmacovigilance (PV) is the process of collecting, monitoring, and evaluating AEs for safety signals
    to reduce harm to the public in the context of pharmaceutical and biological agents. Many of the issues
    with VAERS are becoming well known – especially with regards to reporting and recording of data – in
    light of the extensive use of this system this year, challenging its functionality as a pharmacovigilance
    system.
       This appraisal assesses three issues that respond to the question of VAERS pharmacovigilance by
    analyzing VAERS data: 1. deleted reports, 2. delayed entry of reports and 3. recoding of Medical
    Dictionary for Regulatory Activities (MedDRA) terms from severe to mild. The most recently updated
    publicly available VAERS dataset was found to have N=1516 (0.4%) VAERS IDs removed (“missing”).

1     The Brand Name: Pfizer-BioNTech COVID-19 Vaccine, the Previous Name: BNT162b2 or the Company Name:
      Pfizer Inc. and BioNTech SE. can be used in the case of the Pfizer/BioNTech COVID-19 products. The Brand
      Name: mRNA-1273 and/or Company Name: Moderna, Inc. can be used in the case of the Moderna COVID-19
      products.
2     mRNA biologicals are not true vaccines. True vaccines undergo time-dependent testing protocols to ensure safety
      and efficacy, typically enduring between 10 and 15 years. True vaccines are a preparation of a weakened or killed
      pathogen, such as a bacterium or virus, or of a portion of the pathogen’s structure that, upon administration to an
      individual, stimulates antibody production or cellular immunity against the pathogen but is incapable of causing
      severe infection. The mRNA biologicals do not satisfy either these requirements and as such are more akin to
      experimental treatments than vaccines.
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 Of this missing data, 13% represented death, 11% represented COVID-19 and 63% represented Severe
 Adverse Events (SAEs). Of these missing death data, only 59% represented redundancies – re-assigned
 new VAERS IDs – the remainder were unaccounted for.
    A lag time between onset of AEs and entry of AEs into the VAERS public database was discovered,
 and it appears to depend on the AE type. For example, in the case of COVID-19 breakthrough cases,
 approximately mid-May, 4100 (38% of total) reports were retroactively added approximately 8.5 weeks
 following the original onset date. SAEs were not found to be downgraded to mild AEs (MAEs) for a
 tested cohort within 10 selected updates.
    VAERS is designed to reveal potential early-warning risk signals from data, but if these signals are not
 detectable as they are received, then they are not useful as warnings. Considering the relevance of safety
 concerns in the face of the large numbers of AEs being reported into the VAERS system in the context
 of COVID-19 products, it is essential that the VAERS system be carefully and meticulously maintained.
 Despite the emergence of the Standard Operating Procedures (SOP) for COVID-19, VAERS is lacking
 in transparency and efficiency as a PV system, and it requires amendment or replacement.

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 Keywords
 COVID-19; Vaccine Adverse Events Reports System (VAERS); Adverse Events (AEs); Severe Adverse Events
 (SAEs); Mild Adverse Events (MAEs); VAERS Wayback Machine; Standard Operating Procedures (SOP);
 Medical Dictionary for Regulatory Activities (MedDRA); Pharmacovigilance (PV)



                   Contents                               The Center for Biologics Evaluation and Research
                                                          (CBER), as an example, actively participates in
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                                                          international pharmacovigilance efforts under the
 3   Results                                   105        umbrella of the Food and Drug Administration
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 5   Conclusion                                115        Services (DHHS) [3]. International regulatory
 6   References                                116        organizations such as the World Health
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                                                          Organization (WHO), the Pan American Health
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                                                          Organization (PAHO) and the World Intellectual
                                                          Property Organization (WIPO) also function to
 1                 Background                             ensure pharmacovigilance in biologicals and serve
                                                          as sources of guidance pertaining to pharmaco-
Pharmacovigilance is the process of collecting,           vigilance efforts. In addition, individual countries
monitoring, and evaluating AEs for safety signals         have their own regulatory authorities, such as the
to reduce harm and promote safety to the public in        Medicines & Healthcare products Regulatory
the context of pharmaceutical and biological agents       Agency (MHRA) of the United Kingdom (U.K.),
[1,2]. There are a number of organizations and            responsible for rule and regulation enforcement and
agencies that exist to ensure pharmacovigilance as        the issuance of guidelines to ensure pharmaco-
part of regulation of biological products from            vigilance in the development and administration of
conception to administration into humans for use.         biological products. The U.K. ‘Coronavirus Yellow
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Card’ reporting site allows collection of AE data        19 injectable products [5,6,7,10,11,12]. Accordingly,
monitored by the MHRA.                                   VAERS reports are received, processed, and
                                                         managed by trained CDC contractors. The VAERS
    The U.S. FDA and Centers for Disease Control
                                                         reports are received online for subsequent review,
and Prevention (CDC) created and implemented the
                                                         and symptoms and diagnoses are assigned
Vaccine Adverse Event Reporting System
                                                         MedDRA standard codes. Additional information,
(VAERS) in 1990 to receive reports about AEs that
                                                         including hospital records and autopsy reports, will
may be associated with biological products such as
                                                         be requested by these trained staff when appropriate,
vaccines.3 Most vaccine AE reports in VAERS
                                                         as outlined in the SOP. Reports are often changed
concern relatively minor events, such as injection
                                                         or deleted. For example, in the case where a person
site pain. Other reports describe serious events,
                                                         successfully files a report using the VAERS system
such as hospitalizations, life-threatening illnesses,
                                                         and subsequently dies, they are, in some cases,
or deaths [4,5,6,7,8]. The reports of serious events
                                                         assigned a new VAERS ID number, unlinking their
are of greatest concern and are meant to receive the
                                                         reported AEs and death records. In addition, as the
most scrutiny by VAERS staff and healthcare
                                                         AEs may become more enumerable in an
professionals. The primary purpose of the database
                                                         individual, multiple changes can be made to their
is as a pharmacovigilance tool – to serve as an early
                                                         VAERS report under the same VAERS ID number
warning or signaling system for AEs not detected
                                                         or, as indicated, under a different VAERS ID
during pre-market testing. The National Childhood
                                                         number if they die.
Vaccine Injury Act of 1986 (NCVIA) requires
health care providers and vaccine manufacturers to          An Adverse Event (AE) is defined as any
report AEs to the DHHS following the                     untoward or unfavorable medical occurrence in a
administration of vaccines outlined in the Act           human study participant, including any abnormal
[4,5,6,7]. Reported AEs, as part of the VAERS            physical exam or laboratory finding, symptom, or
system, represent a fraction of the actual number of     disease temporally associated with the participants’
AE incidents, so the numbers reported herein are         involvement in the research, whether or not
likely far lower than actual numbers [6,7,9].            considered related to participation in the research.
VAERS reports can be made by nurse practitioners,        Based on the Code of Federal Regulations, a
general practitioners, or family members, which          Serious or Severe Adverse Event (SAE)5 is defined
can result in duplicate reports being made. As part      as any adverse event that results in death, is life
of the VAERS Standard Operating Procedures for           threatening, or places the participant at immediate
COVID-19 (SOP)4 published on January 29th,               risk of death from the event as it occurred, requires
2021, the CDC and the FDA are meant to perform           or prolongs hospitalization, causes persistent or
routine VAERS surveillance to identify potential         significant disability or incapacity, results in
emergent safety concerns in the context of COVID-        congenital anomalies or birth defects, or is another



3    VAERS has benefits of the PREP Act – while vaccine manufacturers are shielded from liability, and vaccine
     proponents tout VAERS as an example of active PV, VAERS users must acknowledge the data cannot be used to
     establish causality.
4    Vaccine Adverse Event Reporting System (VAERS), Standard Operating Procedures for COVID-19 (as of 29
     January 2021), VAERS Team: Immunization Safety Office, Division of Healthcare Quality Promotion National
     Center for Emerging and Zoonotic Infectious Diseases and Centers for Disease Control and Prevention.
5    NIA Adverse Event and Serious Adverse Event Guidelines (2018).
     https://www.nia.nih.gov/sites/default/files/2018-09/nia-ae-and-sae-guidelines-2018.pdf
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condition which investigators judge to represent         comma-separated values (csv) files representing (i)
significant hazards.6 The VAERS handbook states          general data for each report; (ii) the reported AEs or
that approximately 15% of reported AEs are               ‘symptoms’; and (iii) vaccine data for each report,
classified as severe [4]. Nowhere in the VAERS           including vaccine manufacturer and lot number.
handbook or on the website published by the              The VAERS dataset is updated weekly. Upon
CDC/FDA is there mention of deleted data or              individual reporting of vaccine side effects or AEs,
transparent description of the processes and criteria    a VAERS ID number is provided to the individual
used for record deletion. The only reference I could     to preserve confidentiality, and a detailed
find to legitimate removal of data, from                 description of the AEs are transcribed along with
WONDER’s ‘Reporting Issues’ section, claims that         the individual’s age, residence by state, past
‘Duplicate event reports and/or reports determined       medical history, allergies and gender, and many
to be false are removed from VAERS’.7                    other details. In addition, the vaccine lot number,
                                                         place of vaccination and manufacturer details are
   A Wayback Machine8 is an initiative of the
                                                         included in the report.
Internet Archive, a 501(c)(3) non-profit, building a
digital library of Internet sites and other cultural        The VAERS ID was used as a linking variable to
artifacts in digital form. The VAERS Wayback             merge the three csv files. Data was filtered
Machine9 therefore allows an examination of the          according to vaccine type (reports made only for
VAERS government data input each week. The               COVID-19), and all variables were retained,
U.S. Government publishes a new version of its           including VAERS ID, AEs, age, gender, state,
VAERS database weekly and VAERS IDs can be               vaccination date, date of death, incident of death,
changed or even deleted without documentation of         dose series, treatment lot number, treatment
edits. The VAERS Wayback Machine provides a              manufacturer, hospitalizations, emergency depart-
way to trace and track deleted files based on            ment visits, disabilities, life threatening AEs, birth
matches in field entries between VAERS ID                defects and onset date of AEs. Deaths are
versions.10                                              categorized according to whether or not the
                                                         individual had been marked as ‘DIED’. Erroneous
                                                         labelling is an issue in VAERS, for example, when
    2                Methods                             ‘Death’ is an AE and yet the ‘DIED’ column is
General methodology and descriptive statistics           marked ‘NA’ or ‘not applicable’, thus the dataframe
                                                         was checked and corrected for inconsistencies in
To analyze the VAERS data sets, R was used. (R: a
                                                         the ‘DIED’ column vector. For the purposes of this
language and environment for statistical
                                                         analysis, deaths according to VAERS classification
computing.) VAERS data are accessed through the
                                                         by ‘DIED’ plus these corrected cases of
CDC Wide-ranging Online Data for Epidemiologic
                                                         misclassification are reported here and used in the
Research (WONDER) system. The VAERS data
                                                         analysis. The grouped AE categories hospitalizat-
are available for download11 in three separate
                                                         ions and emergency doctor visits were created by

6  https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/cfrsearch.cfm?
7  VAERS data can be accessed through the CDC Wide-ranging Online Data for Epidemiologic Research
   (WONDER) system. https://wonder.cdc.gov/vaers.html
8 https://web.archive.org/
9 https://medalerts.org/vaersdb/wayback/
10 https://www.cdc.gov/vaccinesafety/ensuringsafety/monitoring/vaers/index.html
11 https://vaers.hhs.gov/data/datasets
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selecting ‘Y’ in the respective column vectors,           data’. The collective missing data file was
while the cardiovascular, neurological and                subsequently filtered for duplicates to ensure that
immunological groups were created by selecting            redundancies were omitted.
keywords indicative of a respective medical issue.           A missing VAERS ID can be missing due to
The SAEs were classified according to whether the         having been removed because it is redundant, or for
individual succumbed to death, was hospitalized,          reasons yet unknown. The former entries are re-
was admitted to the ER, experienced a disability or       assigned a new VAERS ID and are traceable by
a life-threatening AE, or if a birth defect ensued.       matching fields in column vectors of dataframes.
   It should be noted at this point that anyone using     The latter are missing due to unknown reasons. To
the VAERS WONDER system will not see the                  discern between redundant and deleted VAERS
same counts that are described in this analysis, since    IDs, deleted data were cross-referenced by
hospitalizations, ER visits and all SAEs counts           matching fields for relevant selected variables in the
were calculated by counting the ‘Y’ entries in the        most recently updated publicly available dataset.
respective fields in the merged file. The difference      This was done only for the deleted death data, since
between the counts in this analysis and counts from       it is a time-consuming exercise. The matching
a WONDER query are simply due to the effect of            algorithm was as follows: match age, state, and
losing field entries by merging the files. If one uses    gender followed by vaccine lot if available, onset,
the files available for download from the VAERS           vaccine and death dates followed by allergies,
website with the aim of comprehensive analysis of         medications, and any other unique identifiers of the
the full range of data, the 3 csv files must be           individual. If a match was found, the newly
merged. In order to know what ‘SYMPTOMS’ an               assigned VAERS ID was recorded alongside the old
individual succumbed to prior to death, for               VAERS ID in a new file. If a match was not found,
example, or to know what injectable product they          then the VAERS ID was deemed to have been
were given, it is necessary to merge the DATA file        deleted from the database.
with the SYMPTOM file and the VAX file. It is also            Two methods were used to investigate temporal
vital to omit redundancies in VAERS IDs – if not          lags in data entry. The first method involved using
done, this could lead to excess numbers in absolute       only the most recently updated publicly available
counts. The downside to the merge is loss of data         dataset. Assessment of temporal differences in data
due to incomplete field entries; however, it is           entry was done by calculating the difference in the
important to note that the merge counts are under-        number of days between the onset date
approximations, yet still prove the points made           (ONSET_DATE)12 and the date that the AE was
herein.                                                   entered into the VAERS database (TODAY’S_
   Deleted data were isolated and aggregated by           DATE).13 The second method involved comparing
using anti-join iterations in R on sequential             the data from the weekly updates to the most
dataframes. Anti-join returns the rows of the first       recently updated file. Each week, a new set of data
dataframe that are not matched in a second                is available for download from the VAERS website,
dataframe. This was done iteratively for all              as mentioned previously. As an example of how the
sequential dataframes, and the unmatched data were        data sets were compared, consider the first and the
aggregated and put into a new file entitled ‘missing      last VAERS datasets available for download in

12 Onset Date (ONSET_DATE): The date of the onset of adverse event symptoms associated with the vaccination
   as recorded in the specified field of the form.
13 Today’s date (TODAYS_DATE): Date Form Completed.
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2021. According to a reference variable, such as the         United States temporarily suspend the use of
ONSET_DATE, these two datasets should both and               Rotarix [13,14,15]. In 2009, an increased risk of
equally capture all AEs submitted to VAERS from              narcolepsy was found following vaccination with a
January 1st through January 7th, 2021, since the             monovalent H1N1 influenza vaccine that was used
first available dataset would comprise the first week        in several European countries during the H1N1
of data. If any two datasets do not equally capture          influenza pandemic [15,16,17]. Between 2005 and
all AEs, then this discrepancy would warrant                 2008, a meningococcal vaccine was suspected to
explanation. A feasible explanation for a non-match          cause Guillain-Barré Syndrome (GBS) [15,18]. In
in the number of VAERS IDs per ONSET_DATE                    1998, a vaccine designed to prevent rotavirus
entries reported would be retroactive addition of            gastroenteritis was associated with childhood
reports to the system due to a backlog.                      intussusception after being vaccinated [15,19–29].
                                                             Also in 1998, a hepatitis B vaccine product was
   The incidence of SAE downgrade to MAE was
                                                             linked to multiple sclerosis (MS) [15,30].
assessed by choosing 10 update files, calculating
                                                             Pharmacovigilance has functioned in the context of
the SAE and MAEs, and subsequently comparing
                                                             COVID-19 VAERS data with regards to
them to original counts for SAE and MAE in the
                                                             myocarditis, resulting in a COVID-19 vaccine
original files. This was done using the semi-join
                                                             safety update by the Advisory Committee on
function in R.
                                                             Immunization Practices (ACIP, June 23rd, 2021) by
Statistical Testing                                          Tom Shimabukuro. The report did not result in any
Statistical analysis was done using the Student’s t-         changes to the rollout despite the danger signal
Test to determine statistically significant differences      having arisen [31].
between AE types in the deleted data file. Skewing              To date, 50% of the total US population has
in distribution of data was tested using Pearson’s           received 2 doses of COVID-19 products,14 with
Skewness Index, I, which is defined as I = (mean-            427,831 AEs reported as of August 6th, 2021. These
mode)/standard deviation. The data set is                    numbers are off the scale with regards to numbers
considered to be significantly skewed if |I|≥1.              associated with vaccine rollouts when compared to
                                                             previous years. Even more atypical are the numbers
                                                             of deaths reported in the context of the COVID-19
 3                      Results                              products. Figure 1 shows the total VAERS reports
3.1 Historical pharmacovigilance of VAERS                    from data and total VAERS-reported death counts
    and other safety monitoring systems                      per year for the past 10 years up to and including
                                                             the VAERS update on August 6th, 2021. Both the
VAERS and other safety monitoring systems have               absolute numbers of total AEs and those of deaths
been useful for pharmacovigilance in the past. In            per year dramatically outnumber the absolute
2010, rotavirus vaccines licensed in the U.S were            numbers recorded in previous years. To date, there
found to contain Porcine circovirus (PCV) type 1             are 6639 (1.6% of all AEs) deaths in the VAERS
and were subsequently suspended. On 22 March,                database. Normalization to fully injected
2010, the FDA issued a statement recommending                populations were done and compared with
that clinicians and public health professionals in the       INFLUENZA vaccine data for past years and it was



14 https://usafacts.org/visualizations/covid-vaccine-tracker-states/
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 Figure 1: Bar plots showing the number of VAERS reports (left) and reported deaths (right) per year for
                                the past decade. (2021 is partial data set.)




 Figure 2: Histogram plots showing distributions of the AEs of the total VAERS ID count (left) and for
                                             SAEs (right).




found that the increase in AEs is not due simply due    SAE. Of the SAEs, there are 6,639 deaths, 26,402
to an increase in injections [32].                      hospitalizations, 59,061 ER visits, 7,423 life-
                                                        threatening events, 6,861 disabled and 258 birth
   As part of an ongoing analysis [8], VAERS data
                                                        defects reported.
are being monitored according to weekly updates.
Figure 2 shows the total AE count (up to and               Female reproductive issues (FRIs) and AEs in
including the August 6th, 2021, VAERS update) by        children aged 12–18 years are on the rise. There are
age group alongside the SAE data by age group           currently 6,398 total FRIs and 18,021 AEs reported
(according to CDC age group classifications). The       in young children aged 12 through 18. These
distribution in both cases is symmetric and             children represent 4.2% of the total VAERS data
unimodal, not skewed toward any particular age          and 12.9% of all cardiovascular AEs. It should be
group, potentially meaning that there is no             highlighted that the rollout has only just begun
particular age group with lesser chance of              recently for children in these young demographics.
succumbing to an AE or, more importantly, an            Figure 3 shows histograms for the FRIs (left) and

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 Figure 3: Histogram plots showing the distributions of female reproductive issue AEs and AEs in children
   aged 12–18 years old from the VAERS dataset according to age group (left) and age in years (right).




 Figure 4: Histogram plots showing the distributions of the missing data of the total AE counts (left) and
                   for SAEs (right) from the VAERS dataset according to age group.




for the children (right) with respect to age in years.   first update and the second, 10 VAERS IDs are
Most reports within the children aged 12–18 were         missing; between the second and third, 13 VAERS
made for 17-year-olds.                                   IDs are missing, and so on up to the second-last and
                                                         the most recent update where 101 VAERS IDs are
3.2 Missing data                                         missing. Figure 4 shows the distribution of the
To date (August 6th, 2021), 1,516 VAERS IDs are          missing data according to age groups for the entire
missing from the most recently updated publicly          missing data set (left) and for the SAEs within the
available VAERS database. This represents 0.4% of        set (right). The missing data are distributed in a
the total VAERS IDs. For each of the 28 updates,         symmetric and unimodal way with regards to age
one anti-join iteration was performed between            groups and are not skewed toward any group in a
sequential updates. For each anti-join iteration, of     statistically significant way (I=-0.2) when
which there are currently 27, the extracted missing      compared to the dataset without removals.
data counts are as follows: 10, 13, 20, 20, 4, 12, 30,      Interestingly, when the data are not filtered by
18, 41, 14, 25, 24, 45, 72, 89, 77, 69, 102, 53, 115,    age group, 63% of all missing data reports qualify
89, 167, 95, 63, 62, 87 and 101. That is, between the
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as Severe AEs, and this represents 1.2% of the total       Figure 5: A histogram plot showing distribution
SAEs reported to VAERS. When the data are                    of missing death data according to age group
filtered by age group, this percentage becomes 81%,
as shown in Figure 4. The missing SAE data are
distributed in a symmetric and unimodal way with
regards to age groups and are not skewed toward
any group in a statistically significant way (I=-0.4).
   Of the total missing VAERS ID data set, 41% of
the missing IDs involved hospitalizations and 37%
involved emergency room visits (data not shown).
Histograms of these two categories do not show any
statistically significant skewing toward any
particular age group (I=0.1 and I=-0.1, respectively;
not shown).
                                                            Figure 5 shows that the distribution of deleted
   Individuals who succumb to and are diagnosed          death data is asymmetric, unimodal and not skewed
with COVID-19 post-injection, also known as              in a statistically significantly way toward any
breakthrough events, comprise 11% of the total           specific age group in this data set (Figure 7 (I)=0.7).
missing data (1.4% of total VAERS IDs). It is very       Of the missing death data, 15% of reports were
strange to report that 70% of the age data contains      made within 24 hours and 28% of reports were
an “NA” entry in the “AGE_YRS” field and thus            made within 48 hours indicating a clustering of
age-grouped data analysis is not tenable here. FRIs      reports in very close temporal proximity to the
comprise 0.8% of the missing VAERS IDs (0.2%             injection.
of total FRIs reported to VAERS).
                                                         3.3 Redundancy deletions versus deletions for
3.2.1 Death data comprises 13% of missing data               unknown reasons in death reports
Although the absolute number of missing VAERS            There are 199 deleted death entries to date from the
IDs may not be high, of this small subset of deleted     VAERS database and 214 deleted death entries to
data, 13% of total missing AEs are deaths. The total     date collected from the VAERS Wayback Machine.
number of deaths is 199 and in each sequential           The discrepancy of 15 deleted deaths, which
iteration of the anti-joining of the datasets, death     accounts for 3% of all reported deaths, arises from
remained at the highest or near highest frequency        deletions of individuals in a ‘foreign location’ that
for missing AEs in each “SYMPTOM” list for the           are not included on the publicly available Domestic
extracted missing data set, save for SYMPTOM             dataset. The deleted death data list can be found in
column 5, which rarely contains the primary or           the Supplementary materials. Deletions of
most prevalent AE reported per individual. For           redundant entries are marked by NA in the ‘True
example, of the 5 SYMPTOM column variables               deletions’ column and the accompanying new
representative of the reported AEs, SYMPTOM              VAERS IDs are listed. Deletions due to unknown
column 1 primarily contains the most prevalent AE        reasons are marked by TRUE value in the ‘True
listed and has ‘COVID-19’ as the #1 most frequently      deletions’ column. Of the total list, 59% were found
occurring missing report (22%) with ‘Death’ at #2        to be redundant entries and 41% of the entries were
(15%). This missing death data comprises 3% of the       true deletions. For the remaining 1317 non-death-
total VAERS death reports.                               related AEs, a cross-reference search would need to
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Figure 6: Bar plots showing the discrepancies in cumulative data by slope of increase at the beginning of
                      the data versus slope of decrease at the end (current update)




be completed in future work to discover what            the first row of bars with x-axis marker ‘1’ shows
percentage of total missing AEs are true deletions.     the number of deaths for each of the updates
                                                        according to weeks 1–27 (01/30/21–07/30/21). A
3.4 Unexplained lag in data input
                                                        closer look (examining only weeks 1–12 for clarity)
An anomaly in the data pertaining to data entry         at Figure 6 (right) reveals that the number of deaths
times when compared to onset of AE dates can be         were essentially equal for the first 12 updates for
seen when total AE counts reported in the most          week 1. By week 12, this number started to change
recently updated publicly-available VAERS dataset       with respect to week-by-week calculations of death
(updated August 6th, 2021) are compared with total      counts. If we observe the slope of the difference in
AE counts as per VAERS weekly updates. To date,         absolute number in the data per update date, it is
there are 28 sets of data, and discrepancies can be     increasing quite consistently as the week number
found between the files from update to update. This     increases. This is precisely what we would expect
would not necessarily be perceived by a data            to see if data were being retroactively added. The
analyst if they were simply looking at the data from    inconsistency is the increasing slope that emerges.
the most recently uploaded data to the VAERS            It should not be increasing – not even remotely. The
system. One would only notice this discrepancy if       only increase we would expect to see is a grouped
simultaneously analyzing the individual sets as         increase over a week. Absolute numbers should not
compared with the most recently updated set by          change per week with respect to weekly data
update date. If the VAERS system was functioning        already entered. Thus, if data are being retroactively
as a pharmacovigilance system and in fact passive,      added, then we would see changes reflected per
these data sets would be expected to follow the         week as shown in the red rectangle on the right in
same trajectory. Evidently, there are two               Figure 6 (right).
trajectories, and they are not similar quantitatively
                                                            Another way to visualize this phenomenon is
or qualitatively.
                                                        using a heatmap. Figure 7 is a correlation plot
   Figure 6 (left) shows the number of deaths for       illustrating the number of deaths per week for death
each specific update date per week. For example,        week versus the week of entry into the VAERS
                                                                                                          109
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 Figure 7: Heatmap showing the delayed death              most recently update data and the data under the red
 data entries where n is the number of deaths per         line is the weekly updated data. The most alarming
                 intersection tile                        observation from this figure, however, is the
                                                          amount of data that was present early on that simply
                                                          was not publicly available at the time that they were
                                                          generated. For example, the ∆ cumulative AEs
                                                          between the individual updated data for week 10 is
                                                          19,536. The ∆ time in weeks is 7.6. This means that
                                                          almost 20,000 SAEs that should be observable in
                                                          the publicly available VAERS Domestic dataset
                                                          were not present at the time they occurred and were
                                                          originally reported. This means that only 7,065
                                                          (red)/26601 (blue) = ~20% of the actual SAEs as of
                                                          that date (week 1) were entered into the database.
                                                              Only after a lag time of almost 2 months did this
database. Any entry that is not on the diagonal is an
                                                          data become visible. If week 5 is examined, this lag-
entry that was not entered on the week that the
                                                          time becomes 10 weeks (Figure 8 - right). It is only
person died. 21 tiles (42%) representing n>1 deaths
                                                          recently that these data were made visible and this
indicates that many entries were entered well after
                                                          is most likely due to a huge backlog being tended
the death date. In one case, the AE was entered 77
                                                          to. The fact that the data sets have converged is due
days post death. This is clear evidence of death data
                                                          to the backlog being sufficiently dealt with. This
being retroactively added. Considering that death
                                                          phenomenon was found to exist to varying degrees
certificates can take time to be processed, it is to be
                                                          in all AEs checked. Figure 9 shows 3 representative
expected that some death entries to VAERS would
                                                          plots for Chills, Death and Breakthrough COVID-
occur quite temporally distal to the date of death,
                                                          19 AEs. It is fortunate (in a way) that the death data
but this is a phenomenon that was observed for any
                                                          does not seem to have been a victim of the lag like
AE checked.
                                                          some others. This phenomenon was also not
3.4.1 Why does this matter?                               dependent on an AE being mild or severe but the
                                                          degree to which the phenomenon occurred in each
This corroborates the hypothesis that there is a lag-
                                                          AE is yet to be ascertained. This can be checked.
phase between reporting and recording of data. The
duration between reporting following onset of an             Another way to assess temporal differences in
AE reaction and recording into the VAERS publicly         data entry is to calculate the number of days
available data varies from a few days to many             between the onset date (ONSET_DATE)15 and the
months. Figure 8 shows the difference in data with        date that the AE was input into the VAERS
respect to the data as per weekly update and to the       database (TODAY’S_DATE)16 using only the most
updated data as of August 6th, 2021, for all SAEs.        recent updated file. For example, the difference
The black shaded area represents data that is in          between the completed form entry date and the
excess with regards to the data originally presented      onset of the AE date should be the same for any two
to the public. The data under the blue line is the

15 Onset Date: The date of the onset of adverse event symptoms associated with the vaccination as recorded in the
   specified field of the form.
16 Today’s date: The date the form was completed.
                                                                                                             110
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   Figure 8: Shaded plots showing the SAE data as they were input per respective update (grey shaded
       region) compared with these data as they are reported in each individual updated file (black)




    Figure 9: Shaded plots showing the Chills, Death and Breakthrough COVID AE data as they were
  input per respective update (grey shaded region) compared with these data as they are reported in each
                                      individual updated file (black)




randomly selected AEs. If there was a difference           Figure 10: Time series plot showing percentages
between the percentages of reports made for any            of Chills (green/yellow) and Death (green/red) of
two AEs, based on the difference between entry             the total VAERS dataset (as of update July 30th,
date and onset of AE date, then this would require          2021) against the number of days calculated in
explanation, especially if the difference was                 between the entry date of the report into the
statistically significant. The most frequently              database and the onset date of AE for up to 15
                                                                            days’ difference
reported AE in the VAERS system in the context of
COVID-19 products is “Chills”. I chose this AE as
a positive control against deaths in the context of
whether or not these two AE types were being
added to the publicly available VAERS database in
the same way, temporally.
    Figure 10 shows the percentages of reported
Deaths and Chills as a starting point for the
comparison. The T-test confirms a statistically
significant difference between the respective means
of the Death and Chills AEs with regards to differences

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in reporting times following onset of AE with a p-                                    available for download. These 10 were selected
value = 0.005. The figures show areas under the                                      since 5 are classified as severe and 5 are classified
curves generated to demonstrate how many more                                        as mild.
entries were made in the case of Chills than for                                        There is a clear difference in the percentages of
Death within the first 5 days following onset of AE.                                 reports made between the mild AEs: Headache (H),
3.4.2 Lag time dependency on AE type?                                                Chills (Ch), Injection site pruritis (ISP), Fatigue (F)
                                                                                     and Dizziness (D) and severe AEs: Bell’s palsy
Figure 11 shows the percentages of reported
                                                                                     (BP), Death (D), Heavy menstrual bleeding (HMB),
Deaths, Bell’s palsy, Heavy menstrual bleeding,
                                                                                     Foetal death (FD), COVID-19 (C19). In the case of
Myocarditis, Injection site pruritis, Chills,
                                                                                     the mild AEs listed, the area under the curves
Headache, and Fatigue data against the differences
                                                                                     (AUCs) are greater than the AUCs in the first few
in days between their onset dates and the entry dates
                                                                                     days following the onset of the AE. In the cases of
into the Domestic front-end VAERS system that is
                                                                                     the more severe AEs, <10% of reports were entered
                                                                                     within the first few days. It is yet unclear whether
 Figure 11: Time series plot showing percentages
                                                                                     or not this is a coincidence.
 of reported Headache (H), Chills (Ch), Injection
   site pruritis (ISP), Fatigue (F), Dizziness (D)                                   3.5 Are SAEs being downgraded to MAEs each
    (blue), Bell’s palsy (BP), Death (D), Heavy                                          week?
  menstrual bleeding (HMB), Foetal death (FD),
COVID-19 (C19) (red) of the total VAERS dataset                                      The rate of SAE occurrence according to VAERS
(as of update July 30th, 2021) against the number                                    data is 19% (nSAE/N reports to VAERS (%)). If we
of days calculated in between the entry date of the                                  use only Pfizer data, this rate increases to 21%. If
          report and the onset date of AE                                            we normalize to dose number, we get 0.02% rate of
                                                                                     SAE (nSAE/N doses) so this translates to ~1/5000
                                                                                     individuals succumbing to a SAE. There is
                                                                                     variation between the criteria that the CDC uses to
                                                                                     determine SAEs in VAERS and the medical
                                                                                     definition of SAEs [4,5,6,7]. This raises the
                                                                                     question of whether specific SAE reports in
                                                                                     VAERS are downgraded over time to MAEs. The
                                                                                     short answer is no. To determine whether or not
                                                                                     SAEs were being downgraded to mild AEs, I
                                                                                     semi-joined the datasets for a selected update date



  Table 1: Calculated SAE and MAE differences between reference file and original file for 10 sample
                              update files downloaded from VAERS
                                                                                                                                          Reference Update (RU)
        ∆ (date-RU)    03_05_21   03_12_21   03_19_21   03_26_21   04_02_21   04_09_21   04_16_21   04_23_21   04_30_21   05_07_21   05_14_21         21_05_21
     ∆total AE count         86        118        105        124         94         94         93        120        162        149         77                 0
         ∆SAE count          14         38         35         49         23         28         28         53        107         98         49                 0
        ∆MAE count           72         80         70         75         71         66         65         67         55         51         28                 0
             ∆% SAE           0          0          0          0          0          0          0          0          0          0          0                 0
            ∆% MAE            0          0          0          0          0          0          0          0          0          0          0                 0




                                                                                                                                                                  112
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(03/05/21) with 10 sequential updates to maintain      for deleted death entries in the VAERS Wayback
the same smaller cohort within the data frames. This   machine.
allowed the comparison of the original SAE and            Trained contractor staff are required to enter
MAE counts to the original counts for the              each VAERS report into the database, and if it
individual dataframes to check if the counts were      should be deemed necessary to delete a VAERS ID
changing as updates were being added. None of the      from this database once entered, then it must be
SAE counts were different when compared to semi-       documented with a valid reason for the deletion. In
joined dataframes which means that SAEs are not        addition, when a VAERS ID number is changed to
being downgraded to mild AEs as the updates come       a new number, this should also be documented by
in (Table 1). The discrepancies in deltas seen in      contractor staff. It has been suggested that vaccine-
adverse events (and thus both SAEs and MAEs) are       induced deaths have been classified as COVID-19
most likely due to variations in data reporting and    deaths. If this is the case, then deaths are being
recording that are known.                              skewed away from the elusive vaccine-induced
                                                       death count toward the COVID-19 death count
                                                       [33,34]. It is unscientific to deny any possibility that
 4                  Discussion                         the injections are the possible cause of the injuries,
Functioning pharmacovigilance in VAERS was             particularly in some cases where the clear temporal
examined in this study. It appears from this short     proximity makes this possibility a high probability
appraisal that although VAERS could be a               [8,35]. If this denial was implemented into a system
functioning pharmacovigilance system, it is not        of denial, it would most likely manifest in this way.
being used as such. The only reference to legitimate      VAERS was designed to reveal potential risk
deletion of data from the VAERS system was in the      signals from data, but if these signals are not
VAERS/WONDER ‘Reporting Issues’ section,               detectable as they are received, then they are not
which claims that ‘Duplicate event reports and/or      useful as timely warnings. There is evidence that
reports determined to be false are removed from        the VAERS data are being entered into the publicly
VAERS’. Despite this ‘disclaimer’, there is no way     available dataset much later than one would expect,
to check or validate ‘falseness’ of data that may      considering that this is a passive system. It is
have been removed. This means that, in the case of     conceivable that death AEs have extended
deleted deaths, which represent 3% of all death        processing times for the issuance of death
data, their removal needs to be explained. These       certificates, but there would be no reason for other
deaths were reported to VAERS and recorded by          AEs, severe or mild, to have delays with regards to
hired CDC contractors. They represent people who       data entry, especially not delays greater than 4
died in temporal proximity to having been given an     weeks. Public health policy decisions on expanding
as-yet non-FDA-approved, experimental transfective     the vaccination program might have been made
biological product by intramuscular injection. They    differently if the true rates of reported SAEs and
cannot simply be deleted. Something worth noting       deaths had been known in real time. Similarly, if
was the commonality in deleted entries where a         individuals knew of SAEs and deaths occurring so
causality relationship between the injections and      early on in the rollout, and also that the percentage
the AE was not only implied but also suggested by      of SAEs is atypically high, then perhaps they would
the sender, which is typically the physician or        have exercised their rights to informed consent,
emergency-room physician who attended to the           declined these injections or simply waited for safety
individual’s case. Refer to Supplementary Table 1      data to come in. This is precisely what the VAERS
                                                                                                           113
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system is designed for in its pharmacovigilance           be used as reliable a safety signal detection metric
task: to warn policy makers and individuals of            – it does not work.
potential risks not detected during clinical trials. If      To be clear, the absolute number of AEs reported
there is a large backlog of data, then more trained       in the context of the COVID-19 products is
staff need to be hired to expedite data entry to          approximately 11x higher than for all the reported
ensure that the VAERS system is able to deliver           AEs for 2020 combined. The absolute number of
safety signals as they are reported. In the case where    deaths reported is approximately 42x higher than
late entry of data occurs due to another reason, then     for all deaths reported for 2020. However, the PRR
this needs to be acknowledged, investigated and
                                                          does not emit a safety signal even though the
remedied. The evidence provided herein lends to           number of deaths is 266 times higher in the context
the hypothesis that data is being entered according       of the COVID-19 products when compared to
to AE severity. This alone requires investigation.        INFLUENZA products [32]. In spite of peer-
   As a point of concern with regards to CDC safety       reviewed studies noting significant association of
signal metrics, as defined in section 2.3.1 in the        COVID-19 injectable products with Bell’s palsy,
SOP, the proportional reporting ratio (PRR) is used       thrombocytopenia and myocarditis [39,40,41,42],
to define safety signals originating from VAERS.          the CDC maintains the position that no specific
The PRR is a metric that compares the ratio of            safety concerns have been identified with regards to
specific AEs to total AEs for vaccine products. It is     SAEs [8,31,43,44,45]. In a recent CDC report titled
defined as:                                               ‘Local Reactions, Systemic Reactions, Adverse
                                                          Events, and Serious Adverse Events: Pfizer-
                                                          BioNTech COVID-19 Vaccine’ [44], only the
                                                          severity of the most frequently reported AEs in the
                                                          VAERS database are reported in tabular form and
                                                          not the SAEs themselves. They report that
                                                          occurrence of SAEs involving system organ classes
where a = specific AE for specific vaccine; b = all       and specific preferred terms were balanced between
other AEs for specific vaccine; c = specific AE for       vaccine and placebo groups and presented at a mere
all other vaccines; d = all other AEs for all other       0.5%, and although SAEs (grade ≥3, defined as
vaccines [36,37]. However, this technique is              interfering with daily activity) occurred more
inherently flawed in that the PRR does not change         commonly in vaccine recipients than in placebo
when the specific vaccine-related AE event counts         recipients, their claim is that no specific safety
are very large or very small [34,36,37,38].               concerns were identified with regards to SAEs,
Therefore, the scaling factor that arises due to the      which is false [43,44,45].
excess of specific AEs is normalized to the total
                                                             One more discussion point that is worth its own
number of AEs, and this ratio is then again
                                                          publication but will be added as a point of interest
normalized to the total for all other vaccines. This
                                                          in this study is the Under-Reporting Factor (URF)
is a problem in the context of the COVID-19
                                                          of AEs. Under-reporting is a problem in
injectable products since both the specific AEs and
                                                          pharmacovigilance systems, VAERS included.
the total number of AEs are atypically high. This
                                                          VAERS is a passive reporting system, and it has
means that no matter how many times higher the
                                                          been suggested as part of a Harvard study that a
death rate, for example, the PRR will be the same
                                                          mere 1% of AEs are reported to VAERS [46].
as it would be for a product that was not killing
                                                          However, this is not necessarily the case, nor is it
people at all. The PRR, therefore, on its own, cannot
                                                                                                           114
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universally applicable for all products; certainly not   like ‘Lyme disease’, seen in blue and green in
for distinct AEs. For example, under-reporting of        Supplementary Table 2.
mild AEs such as rashes or low-grade fever would
most likely be far greater than for SAEs, such as
death. To calculate the URF, the expected number           5                 Conclusion
of SAEs (ESAE) is divided by the observed number
                                                         It cannot be stressed enough when referring to
of SAEs (OSAE). The ESAE is calculated by
                                                         VAERS data collected in the context of the
multiplying the total number of doses administered
                                                         COVID-19 injectable products that effective
in the U.S. (assuming a single dose can result in an
                                                         antiviral responses against the nCoV-2019 virus in
AE) by the number of SAEs recorded in COVID-
                                                         the form of both cellular and humoral immune
19 product safety trials. According to the FDA
                                                         responses have been reported in peer-reviewed
Safety Overview of the Pfizer/BioNTech COVID-
                                                         studies [51–56]. Because of the low Infection
19 product (Study C4591001 – refer to section 5.2.6
                                                         Fatality Rate, indicating effective and robust
page 33) [47,48]. 0.7% of Pfizer/BioNTech
                                                         immune responses, it remains unclear why multiple
COVID-19 product recipients suffered SAEs. As of
                                                         experimental mRNA vaccines have been fast-
August 10th, 2021, 197,399,471 million Pfizer/
                                                         tracked through conventional testing protocols and
BioNTech COVID-19 product doses had been
                                                         are also being fast-tracked through production and
administered in the U.S. [49,50] and therefore the
                                                         administration into the public. With repurposed
number of expected SAE occurrences in the U.S.
                                                         drugs like hydroxychloroquine and Ivermectin
volunteer recipients of the Pfizer/BioNTech
                                                         showing extremely positive results in patients [57–
products should be ~1.4 million SAEs, if we use
                                                         68], it is also unclear why these drugs are not being
this reported rate. Thus, the ratio of ESAE to OSAE is
                                                         more extensively promoted as effective tools in the
31 to 1, suggesting a URF of 31
                                                         fight against this virus. What is clear is that the
(NSAE_Pfizer_trial/NSAE_Pfizer_VAERS = ~1.4M/43,948).
                                                         injectable products are proving unsafe for many
Using this URF for all VAERS-classified SAEs,
                                                         individuals and inefficacious in others (see Israeli
estimates to date are as follows: 205,809 dead,
                                                         data in Supplementary Material). As part of the
818,462 hospitalizations, 1,830,891 ER visits,
                                                         WHO’s own minimum requirements for a
230,113 life-threatening events, 212,691 disabled
                                                         functioning pharmacovigilance system, sub-
and 7,998 birth defects to date [38]. Since the URF
                                                         standard products need to be removed from
for MAEs is very likely larger than for SAEs, it is
                                                         circulation to ensure patient safety. Since VAERS
satisfactory to assume that 31 is a humble estimate
                                                         is capable as a functioning pharmacovigilance
URF for all AEs (refer to Supplementary Table 2).
                                                         system as it reveals safety issues with the COVID-
Relative reporting rates are also shown in
                                                         19 biologicals, it should be used as such, but it is
Supplementary Table 2 to demonstrate that that AE
                                                         not.
reports associated with COVID-19 products are
much higher than for previous years. For all                Despite the low frequency of missing VAERS
symptoms listed in red, we limited the search to 20–     IDs, data have been deleted from the VAERS
60-year-olds since these people are less noisy with      database, and this requires explanation, not only
respect to symptoms and younger people aren’t yet        ethically but also because it lends to the possibility
vaccinated. All fields color-coded yellow contain        of inexact measurements of death counts and
observed/expected incidence rates >100, and these        therefore can potentially lead to missed signals.
only occur in the non-control AEs, such as reported      Statistical power is primarily influenced by sample
AEs that are presumably unrelated to the vaccines,       size (also effect size and significance level), and the
                                                                                                            115
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bigger the sample size, the higher the statistical       approximately 1 in every 400 individuals
power. The deleted data from the total VAERS ID          experiencing an adverse event (~1 in every 25,000
count are individuals enrolled in post-market            for death) in the context of the COVID-19 fully
surveillance human-subject studies: the where-           vaccinated population in the United States, it is
abouts of their VAERS reports of death need to be        therefore unclear why these injections are
accounted for. There is absolutely no reason for         continuing to be used in the human population,
these data to be missing, from what can be               especially since no long-term effects are known and
ascertained. If the data were false, as was suggested    no long-term data exists, to date. It was important
as the only reason to delete an entry, then there        to contextualize death counts since a dis-
needs to be a record of this edited data made            proportionate number of all the missing data AEs
available with the publicly available VAERS data.        are deaths.
   Data are being retroactively added to the                It may appear that the number of missing
VAERS database far later than would be expected          VAERS IDs is nothing to be concerned about from
for the system to be considered a timely,                an analytical point of view, but I remind the reader
functioning pharmacovigilance system. This could         that these are not just data: they are people. This
be explained by manual curation of a large backlog       report addressed three issues that respond to the
of data. However, if AEs are being entered               question of VAERS pharmacovigilance by
differentially, with respect to time, based on           analyzing VAERS data in relation to: 1. deleted
severity, then we all must ask the difficult question:   reports, 2. delayed entry of reports, and 3. recoding
“Why?” Again, VAERS was designed to reveal               of MedDRA terms from severe to mild.
potential risk signals from data, but if these signals
are not detectable as they are received, then they are
not useful as warnings and pharmacovigilance               6                 References
becomes moot. The duration between reporting
                                                         1. World Health Organization. 2010. Minimum
following onset of an adverse event reaction and
                                                            requirements for a functional pharmaco-
recording into the VAERS publicly available data
                                                            vigilance system.
varies from a few days to many months. If earlier
                                                            http://www.who.int/medicines/areas/quality_sa
information was available to public health policy-
                                                            fety/safety_efficacy/PV_Minimum_Requireme
makers and to the public, including the off-the-
                                                            nts_presentation.ppt
charts prevalence of SAEs (19%) and deaths, then
perhaps the decision to volunteer to have these          2. World Health Organization. 2021. Pharmaco-
products injected would have been more                      vigilance.
prevalently declined or simply put on hold until            https://www.who.int/teams/regulation-
more safety data had accumulated. This, again, is           prequalification/regulation-and-
part of pharmacovigilance that has failed with              safety/pharmacovigilance
regards to assessment of risk/benefit management.        3. U.S. Department of Health and Human
   According to this analysis, VAERS IDs are not            Services, Food and Drug Administration,
being downgraded from SAEs to mild AEs. In fact,            Center for Drug Evaluation and Research
the percentage of SAEs continue to increase from            (CDER), Center for Biologics Evaluation and
month to month. Even without considering the                Research (CBER). March 2005. Guidance for
URF, the ratio of fully vaccinated individuals              industry: Good pharmacovigilance practices
succumbing to an adverse event is high. With                and pharmacoepidemiologic assessment.
                                                                                                          116
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  Supplementary Table 1: The true deletions shown in the context of all missing data. The new VAERS
                         IDs assigned to the redundant entries are also shown.
      Count   VAERS ID missing     New VAERS ID       True deletions             DIED classification (B&A)                Adverse Event         Deleted from date
        1         918723                   N              TRUE                      Y(Location: foreign)                      Death                  1/7/21
        2         923149                   N              TRUE                      Y(Location: foreign)                      Death                  1/7/21
        3         930386                   N              TRUE                               Y                                Death                  1/15/21
        4         930418                   N              TRUE                               Y                                Death                  1/15/21
        5         934963                   N              TRUE                               Y                                Death                  1/15/21
        6         937985                   N              TRUE                      Y(Location: foreign)                      Death                  1/15/21
        7         940950                   N              TRUE                               Y                                Death                  1/15/21
        8         940954               930466              NA                               Y/Y                               Death                  1/15/21
        9         944273                   N              TRUE                               Y                                Death                  1/15/21
       10         944385                   N              TRUE                               Y                                Death                  1/22/21
       11         944659               944641             TRUE                              Y/Y                               Death                  1/15/21
       12         946097               935767              NA                               Y/Y                               Death                  1/15/21
       13         947974               940955              NA                               Y/Y                               Death                  1/22/21
       14         949547               945253              NA                               Y/Y                               Death                  1/22/21
       15         951960               985715              NA                               Y/Y                               Death                  1/29/21
       16         955878                   N              TRUE                               Y                                Death                  1/22/21
       17         957321                   N              TRUE                      Y(Location: foreign)                      Death                  6/11/21
       18         960437                   N              TRUE                               Y                                Death                  1/22/21
       19         964729              1329449              NA                              Y/NA                               Death                  1/29/21
       20         964956               962940              NA                               Y/Y                               Death                  1/29/21
       21         966236          Dead in 30 mins         TRUE                               Y                                Death                  1/29/21
       22         970044               950533              NA                              Y/NA                               Death                  1/29/21
       23         970139               950441              NA                               Y/Y                               Death                  1/29/21
       24         970161                 ITP?             TRUE                               Y                                Death                  1/29/21
       25         971561               962325              NA                               Y/Y                               Death                  1/29/21
       26         971800               921768              NA                               Y/Y                               Death                  1/29/21
       27         978872               971969              NA                               Y/Y                               Death                  2/4/21
       28         982778               935815              NA                               Y/Y                               Death                  1/29/21
       29         983482               978959              NA                                Y                                Death                  2/4/21
       30         999818                   N              TRUE                      Y(Location: foreign)                      Death                  2/12/21
       31        1000669               986901              NA                               Y/Y                               Death                  2/4/21
       32        1000910               977186              NA          Error: Wrong Patient (documentation in EMR)         Unevaluable               2/4/21
       33        1004651                   N              TRUE                               Y                                Death                  2/18/21
       34        1011588               985527              NA                              Y/NA                               Death                  2/18/21
       35        1017127               989006              NA                               Y/Y                               Death                  2/12/21
       36        1020144               994544              NA                               Y/Y                               Death                  2/12/21
       37        1024103                   N              TRUE                               Y                              No death                 2/12/21
       38        1024731              1024592              NA                               Y/Y                               Death                  2/12/21
       39        1045540               939050              NA                               Y/Y                               Death                  4/1/21
       40        1048687                   N              TRUE                               Y                       Cerebrovascular Accident        3/5/21
       41        1051447         Litigation request       TRUE                               Y                                Death                  3/11/21
       42        1064933                                  TRUE                      Y(Location: foreign)                      Death                  8/6/21
       43        1074247                N                 TRUE                               Y                            Death (2 y/o)              4/1/21
       44        1076914                N                 TRUE                               Y                                Death                  3/19/21
       45        1102077             1090801               NA                               Y/Y                               Death                  3/19/21
       46        1108447         1145662? (JJ?P?)          NA                               Y/Y                               Death                  4/1/21
       47        1108969             1096497               NA                               Y/Y                               Death                  3/19/21
       48        1113963             1084036               NA                               Y/Y                            SARS-CoV-2                3/19/21
       49        1122171         1084419/1126060           NA                               Y/Y                               Death                  4/1/21
       50        1131199             1037207               NA                               Y/Y                               Death                  4/1/21




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    Supplementary Table 1 continued




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    Supplementary Table 1 continued




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    Supplementary Table 1 continued




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Sci, Pub Health Pol, & Law                                                          Critical appraisal of VAERS Pharmacovigilance — Oct. 2021


  Supplementary Table 2: Table using Under-Reporting Factor (URF) conversion (30x) to demonstrate
           suggested actual numbers of AEs rather than simply reported values in VAERS.
                   Data source: VAERS/Analysis: Steve Kirsch, Dr. Jessica Rose
                                                                                             Expected
              Adverse Event (AE)           Observed AE 2021 (N)   Number AE (2015-2019)                    Incidence Rate (AE) (N/Average per year)   URF adjusted (OBS*31)
                                                                                          (Average/year)
              Metal poisoning                      2.0                    47.0                   9.4                        0.2                                62.0
                Otitis media                      48.0                   255.0                  51.0                        0.9                              1,488.0
                 Hepatitis                        331.0                 1,457.0                291.4                        1.1                             10,261.0
                  Bursitis                        189.0                  395.0                  79.0                        2.4                              5,859.0
               Conjunctivitis                     172.0                  278.0                  55.6                        3.1                              5,332.0
             Caesarean section                    38.0                    97.0                  19.4                        2.0                              1,178.0
                    Wart                           1.0                     7.0                   1.4                        0.7                                31.0
           Rotator cuff syndrome                  55.0                   148.0                  29.6                        1.9                              1,705.0
              Breech delivery                      0.0                     3.0                   0.6                        0.0                                0.0
                  Cancer                          31.0                   132.0                  26.4                        1.2                               961.0
                 Diabetes                         155.0                  284.0                  56.8                        2.7                              4,805.0
                  Obesity                         14.0                     9.0                   1.8                        7.8                               434.0
               Lyme disease                       42.0                    53.0                  10.6                        4.0                              1,302.0
           Abortion Spontaneous                   707.0                   90.0                  18.0                        39.3                            21,917.0
            Anaphylactic Reaction                1,503.0                 204.0                40.8                          36.8                            46,593.0
           Aphasia (inability to talk)           1,184.0                  55.0                11.0                          107.6                           36,704.0
                 Appendicitis                     433.0                  11.0                  2.2                          196.8                           13,423.0
                  Bell’s Palsy                   2,637.0                 133.0                26.6                           99.1                           81,747.0
                   Blindness                      723.0                   86.0                17.2                          42.0                            22,413.0
                Cardiac arrest                   719.0                    14.0                 2.8                          256.8                          22,289.0
                    Chills                      61,972.0                4,725.0               945.0                          65.6                         1,921,132.0
                   Cough                        9,637.0                 1,002.0               200.4                          48.1                          298,747.0
                   Deafness                      1,022.0                 117.0                23.4                          43.7                            31,682.0
                     Death                       6,639.0                  90.0                18.0                          368.8                          205,809.0
            Deep vein thrombosis                 1,473.0                 14.0                  2.8                          526.1                           45,663.0
                Depression                        503.0                  488.0                97.6                           5.2                            15,593.0
                  Diarrhoea                     13,495.0                6,262.0              1,252.4                        10.8                           418,345.0
       Dyspnoea (difficulty breathing)          20,674.0                 194.0                 38.8                         532.8                          640,894.0
         Dysstasia (difficulty standing)        1,349.0                  133.0                 26.6                          50.7                          41,819.0
                     Fatigue                    61,900.0                4,575.0               915.0                          67.7                         1,918,900.0
       Guillain-Barre syndrome (GBS)             448.0                   378.0                 75.6                          5.9                           13,888.0
                   Headache                     73,565.0                6,231.0              1,246.2                         59.0                         2,280,515.0
                 Herpes zoster                  4,807.0                  700.0                140.0                          34.3                          149,017.0
               Insulin resistance                  6.0                     6.0                  1.2                          5.0                             186.0
     Multiple organ dysfunction syndrome          26.0                    37.0                  7.4                          3.5                             806.0
                    Myalgia                     17,047.0                3,208.0               641.6                          26.6                          528,457.0
                  Myocarditis                    671.0                    73.0                 14.6                          46.0                          20,801.0
                  Neuropathy                     133.0                   195.0                 39.0                          3.4                            4,123.0
                  Paraesthesia                  9,860.0                 2,440.0               488.0                          20.2                          305,660.0
                    Paralysis                    179.0                   411.0                 82.2                          2.2                            5,549.0
              Parkinson’s disease                 26.0                     5.0                  1.0                          26.0                            806.0
                   Pericarditis                  447.0                    49.0                  9.8                          45.6                          13,857.0
                    Pruritus                    18,103.0                11,250.0             2,250.0                         8.0                           561,193.0
            Pulmonary embolism                   1,191.0                 10.0                  2.0                          595.5                           36,921.0
                 Seizure                         2,362.0                 431.0                86.2                           27.4                           73,222.0
              Completed suicide                   19.0                     3.0                 0.6                          31.7                             589.0
                  Thrombosis                     1,588.0                  45.0                 9.0                          176.4                           49,228.0
                    Tinnitus                     6,523.0                 282.0                56.4                          115.7                          202,213.0
                      Total                     324,649.0               47,112.0             9,422.4                       3,758.3                        10,064,119.0


 Unrelated events (blue): The goal for symptoms like metal poisoning, hepatitis, and otitis media (shown
 in blue) is to look for the propensity to over-report this year. If this was just over reporting we’d see a rate
 increase for these symptoms that are unrelated to the vaccines and are not comorbidities.
 Pre-existing comorbidities (green): These conditions like diabetes and cancer in the table above increase
 simply because of the increased number of people filing reports in 2021.
 Symptoms: For all symptoms (Deaths and others), we limited the search to 20-60-year-olds since these
 people are less noisy with respect to symptoms and younger people aren’t yet vaccinated [21].




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       Supplementary Table 3: Table showing injected versus un-injected individuals in the context of
     hospitalizations in Israel. Chart courtesy of Dr. Rafael Zioni. Data source: Israel Ministry of Health.




 8              Author statement
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